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            6    Attorneys for Defendants Television City
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            7    Television City Productions, LLC; Michael
                 Hackman & Associates; and Hackman Capital
            8    Partners, LLC
            9

           10                              UNITED STATES DISTRICT COURT
           11                          CENTRAL DISTRICT OF CALIFORNIA
           12    BEN PIAZZA; JOEL BINGER; KEVIN            CASE NO. 2:20-cv-02920 DSF(ASx)
                 BELLOTTI; JIMMY VELARDE;
           13    WAYNE GETCHELL; NANCY
                 PERRY; EDWARD NELSON; RON                 STIPULATION TO EXTEND TIME
           14    NUGENT; DAVE GOLBA;                       TO RESPOND TO INITIAL
                 PETER MALLARD; FREDERICK                  COMPLAINT BY NOT MORE THAN
           15    SMITH; JULIAN SALAS; ROBERTO              30 DAYS (L.R. 8-3)
                 BOSIO; RICHARD LABGOLD;
           16    DENISE STONES; LESLIE NOURSE;
                 LINDA RUSS; JERILYNNE
           17    AKUTAGAWA; BARBRA CIMO;                   Hon. Dale S. Fischer
                 SHARON O’DANIEL; JODY
           18    LAWRENCE-MILLER; VICKI
                 KAUFMAN; TRACY LAWRENCE;                  Complaint Served: January 28, 2020
           19    KENNETH LATKA; and MARC                   Date of Removal: March 27, 2020
                 BERUTI                                    Current Response Date: April 3, 2020
           20                                              New Response Date:      May 1, 2020
                             Plaintiffs,
           21
                       v.
           22
                 CBS BROADCASTING, INC.;
           23    TELEVISION CITY STUDIOS, LLC;
                 TELEVISION CITY SERVICES, LLC;
           24    TELEVISION CITY PRODUCTIONS,
                 LLC; MICHAEL HACKMAN &
           25    ASSOCIATIONS; HACKMAN
                 CAPITAL PARTNERS LCC; and
           26    DOES 1 through 10, inclusive,
           27                Defendants.
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Gibson, Dunn &
Crutcher LLP
                              STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
                                           BY NOT MORE THAN 30 DAYS (L.R. 8-3)
             Case 2:20-cv-02920-DSF-AS Document 13 Filed 04/03/20 Page 2 of 3 Page ID #:196


            1           Pursuant to Civil Local Rule 8-3, Plaintiffs1 and Defendants Television City
            2    Studios, LLC; Television City Services, LLC; Television City Productions, LLC;
            3    Michael Hackman & Associates; and Hackman Capital Partners, LLC (“Hackman
            4    Defendants”) hereby stipulate to extend by 28 days the time Hackman Defendants have
            5    to answer or otherwise respond to Plaintiffs’ First Amended Complaint (Dkt. No. 1,
            6    Ex. E) to May 1, 2020. Hackman Defendants have not sought or obtained any prior
            7    extension of time, and this extension will not impact the date of any event or deadline
            8    fixed by any Court order.
            9

           10    DATED: April 3, 2020              GIBSON, DUNN & CRUTCHER LLP
           11

           12                                          By: /s/ Lily Bu
                                                                          Lily Bu
           13

           14                                          Attorneys for Defendants
                                                       Television City Studios, LLC; Television City
           15                                          Services, LLC; Television City Productions,
                                                       LLC; Michael Hackman & Associates; and
           16                                          Hackman Capital Partners, LLC
           17
                 DATED: April 3, 2020              LAW OFFICES OF WAYNE S. KREGER, P.A.
           18

           19
                                                       By: /s/ Wayne S. Kreger
           20                                                      Wayne S. Kreger
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                                                       Attorneys for Plaintiffs
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                      Plaintiffs are Ben Piazza; Joel Binger; Kevin Bellotti; Jimmy Velarde; Wayne
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                      Getchell; Nancy Perry; Edward Nelson; Ron Nugent; Dave Golba; Peter Mallard;
                      Frederick Smith; Julian Salas; Roberto Bosio; Richard Labgold; Denise Stones;
           27
                      Leslie Nourse; Linda Russ; Jerilynne Akutagawa; Barbra Cimo; Sharon O’Daniel;
                      Jody Lawrence-Miller; Vicki Kaufman; Tracy Lawrence; Kenneth Latka; and Marc
           28
                      Beruti.
                                                            1
Gibson, Dunn &                  STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
Crutcher LLP                                 BY NOT MORE THAN 30 DAYS (L.R. 8-3)
             Case 2:20-cv-02920-DSF-AS Document 13 Filed 04/03/20 Page 3 of 3 Page ID #:197


            1                                       ATTESTATION
            2          Pursuant to L.R. 5-4.3.4, Lily Bu hereby attests that all other signatories listed,
            3    and on whose behalf the filing is submitted, concur in the filing’s content and have
            4    authorized the filing.
            5

            6                                                /s/ Lily Bu
                                                                             Lily Bu
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                                                             2
Gibson, Dunn &                 STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
Crutcher LLP                                BY NOT MORE THAN 30 DAYS (L.R. 8-3)
